UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
22 Cr. 105 (DLC)
¥.

ORDER MODIFYING BAIL
JAMES VELISSARIS, CONDITIONS

Defendant.

 

 

DENISE L. COTE, District Judge:

WHEREAS, on or about February 16, 2022, the defendant was charged in a six-count
Indictment (the “Indictment”);

WHEREAS, on February 25, 2022, the Court set bail conditions for the defendant’s
pretrial release (the “February 25 Order’’) (Dkt. 13),

WHEREAS, on November 21, 2022, the defendant pled guilty to the crime of securities
fraud charged in Count One of the Indictment,

WHEREAS, following the entry of the defendant’s guilty plea, the Government made
an oral application to the Court, with the defendant’s consent, for the imposition of home
detention as an additional bail condition, to be enforced by location monitoring at the discretion
of Pretrial Services;

WHEREAS, on November 22, 2022, the Court entered an order modifying bail conditions
(the “November 22 Order”);

WHEREAS, the Government, the defense and Pretrial Services met and conferred
regarding the bail conditions and request that the November 22 Order be replaced with the Order
set forth below;

It is hereby ORDERED that:

1, The defendant shall be subject to a curfew, to be enforced by location monitoring
technology at the discretion of Pretrial Services;

2, Any location monitoring equipment may be self-installed at the discretion of
Pretrial Services;

3, The defendant, with the prior approval of Pretrial Services, may travel to the
Southern District of New York, the Eastern District of New York, the District of
New Jersey, the Northern District of Georgia, and the District of Nevada,

consistent with the February 25 Order; and

4, All other bail conditions set forth in the February 25 Order shall remain

unchanged.

Dated: New York, New York November 4, 2022

 

THE HONQGRABLE DENISE COTE
UNITED STATES DISTRICT JUDGE
